
		
OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ADIBI

					

				
  



				
					
					
						
						Previous Case


						
						Top Of Index


						
						This Point in Index


						
						Citationize


						
						Next Case


						
						Print Only

					
					
				

				
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ADIBI2023 OK 17Case Number: SCBD-7400Decided: 02/21/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 17, __ P.3d __

				

&nbsp;


STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
ARYA AFFELDT ADIBI, Respondent.


ORDER


¶1 Upon consideration of (1) Respondent's Affidavit, prepared in compliance with Rule 8.1, Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A, in which Respondent, Arya Affeldt Adibi, requests that he be allowed to relinquish his license to practice law and to resign from membership in the Oklahoma Bar Association, and (2) Complainant's Application for Order Approving Resignation,

¶2 THE COURT FINDS AND HOLDS:

¶3 During the pendency of disciplinary proceedings against him, Arya Affeldt Adibi offered, on February 1, 2023, to surrender his license to practice law and to resign from Bar membership.

¶4 Respondent's act of surrender and resignation was freely and voluntarily made without coercion or duress.

¶5 Respondent is fully aware of the legal consequences that will flow from his resignation.

¶6 Respondent is aware of pending investigations by the Bar's General Counsel into grievances made against him. Respondent is aware that a Formal Complaint was filed against him and is currently pending before the Oklahoma Supreme Court, alleging violations of professional duties and the oath of an attorney. If proven, these grievances would constitute violations of Rules 1.3 and 7.1, RGDP, and Rule 8.4(b) of the Oklahoma Rules of Professional Conduct (ORPC) 5 O.S. 2011, ch.1, app. 3-A, and Respondent's oath as a licensed Oklahoma lawyer.

¶7 The grievances contain these allegations:

Count I

¶8 On February 18, 2020, Respondent was arrested on eleven (11) felony criminal charges involving a domestic incident with his wife in Tulsa County Case No. CF-2020-880. ¶9 On July 1, 2020, the Complainant, Oklahoma Bar Association (OBA), filed a verified complaint against the Respondent, Arya Adibi, and filed an Application for Emergency Interim Suspension pursuant to Rule 6.2A of the RGDP.

¶10 On June 9th and 13th, 2022, respectively, Respondent's bar membership was "Stricken" by Order of this Court in SCBD No. 7058 and SCBD No. 7059 for Respondent's failure to pay his 2021 bar dues and for his failure to comply with his MCLE requirements.

¶11 As part of Respondent's July 30, 2020, Answer to Complaint and Response to Application for Immediate Interim Suspension, Respondent denied all eleven criminal charges filed against him.

¶12 Contrary to Respondent's initial assertions, on January 20, 2023, Respondent entered a plea of Guilty to the felony crime of Sexual Battery, in violation of 21 O.S. § 1123(B), a plea of Guilty to the felony crime of Domestic Assault and Battery by Strangulation, in violation of 21 O.S. § 644.1, and a plea of Guilty to the felony crime of Child Neglect, in violation of 21 O.S. 843.5(C).

¶13 The issue of Respondent's competency to enter the plea of Guilty was specifically addressed on page five of the Plea of Guilty Summary of Facts filed on January 20, 2023 in Tulsa County Case No. CF-2020-880, and the Court found Respondent was competent for purposes of that hearing.

¶14 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), forwarded to this Court certified copies of the Information, Probable Cause Affidavit, Judgment and Sentence, Rule 8 Hearing Order, Felony Domestic Violence Court Rules and Conditions and Conditions of Probation in the matter of State of Oklahoma v. Arya Adibi CF-2020-880, in Tulsa County, Oklahoma.

¶15 The Court sentenced Adibi on the felony crime of Sexual Battery to a ten-year sentence. The Court sentenced Adibi on the felony crime of Child Neglect to a five-year sentence, to be run consecutively to the Sexual Battery sentence of ten years. The Court sentenced Adibi on the felony crime of Domestic Abuse and Battery by Strangulation to a three-year sentence, to be run consecutively to the Child Neglect sentence of five years.

¶16 Respondent waives any and all right to contest the allegations in a bar disciplinary proceeding.

¶17 Respondent recognizes, understands and agrees that he may not apply for reinstatement of his legal license (and of his membership in the Bar) before the expiration of five years from the effective date of this order.

¶18 Respondent agrees to comply with Rule 9.1, Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A, and acknowledges that his license to practice law may be reinstated only upon compliance with the conditions and procedures prescribed by Rule 11, Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A.

¶19 Respondent acknowledges that his actions may result in claims against the Client Security Fund and agrees to reimburse the Fund for any disbursements made or to be made because of his actions, with applicable statutory interest, prior to the filing of any application for reinstatement.

¶20 Respondent acknowledges the OBA has incurred costs in the investigation and prosecution of this matter, and agrees he is responsible for reimbursement of these costs.

¶21 On February 9, 2023, the OBA filed its Amended Application to Assess Costs itemizing costs in the amount of $6,095.77, and requesting reimbursement from Respondent of this amount.

¶22 Respondent's resignation during the pendency of disciplinary proceedings is in compliance with Rule 8.1, Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A.

¶23 Respondent's name and address appear on the official Bar roster as: Arya Affeldt Adibi, 6226 E. 98th St., Tulsa, Oklahoma 74137.

¶24 THE COURT THEREFORE ORDERS THAT the resignation of Arya Affeldt Adibi tendered during the pendency of disciplinary proceedings is approved; the Respondent's name is stricken from the Roll of Attorneys and he may not apply for reinstatement of his license to practice law (and of his membership in the Bar) before the lapse of five years from the date of this order; repayment to the Client Security Fund for any money disbursed (or to be disbursed) because of Respondent's conduct shall be a condition of Respondent's reinstatement; Respondent shall comply with Rule 9.1, Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A.

¶25 It is further ordered that the Respondent pay costs in the amount of $6,095.77 within thirty days from the date of this Order. Any consideration of any future Rule 11 petitions is conditioned upon such payment.

¶26 DONE BY ORDER OF THE SUPREME COURT this 21st day of February, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


&nbsp;





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 21. Crimes and Punishments

&nbsp;
Cite
Name
Level



&nbsp;
21 O.S. 644.1, 
Domestic Abuse with Prior Pattern of Physical Abuse - Penalty
Cited


&nbsp;
21 O.S. 843.5, 
Abuse, Neglect, Exploitation, or Sexual Abuse of Child - Penalties - Definitions
Cited


&nbsp;
21 O.S. 1123, 
Lewd or Indecent Proposals or Acts to Child Under 16
Cited



	
	








				
					
					
				

		
		






	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
